      Case 1:17-bk-13477                    Doc 141        Filed 07/07/20 Entered 07/07/20 14:36:07                                Desc Main
 Fill in this information to identify the case:           Document      Page 1 of 7

 Debtor 1              Reginald E. Boggs
                       __________________________________________________________________

 Debtor 2               Alycia W. Boggs
                        ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                             (State)
 Case number             1:17-bk-13477
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association as
                   Trustee of the Cabana Series IV Trust
 Name of creditor: _______________________________________                                                           20-3
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          5389____ ____ ____
                                                         ____                            Must be at least 21 days after date       08   01   2020
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          670.34
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             336.07
                   Current escrow payment: $ _______________                           New escrow payment:           323.95
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Reginald E. Boggs
                 _______________________________________________________                                                1:17-bk-13477
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghidotti
     Signature
                                                                                                Date    07 07 2020
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                                           SN Servicing Corporation           Final
                                                             323 FIFTH STREET
                                                            EUREKA, CA 95501
                                                         For Inquiries: (800) 603-0836
                                             Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: June 12, 2020

     REGINALD E BOGGS                                                                                                   Loan:
     ALYCIA W BOGGS
     7326 PARKDALE                                                                           Property Address:
     CINCINNATI OH 45237                                                                     4567 PADDOCK ROAD
                                                                                             CINCINNATI, OH 45229



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from Oct 2019 to July 2020. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Aug 01, 2020:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 346.39                  346.39                   Due Date:                                        Jun 01, 2020
 Escrow Payment:                           336.07                  323.95                   Escrow Balance:                                          0.00
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                           672.14
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                   1,338.19
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                         ($666.05)
 Total Payment:                              $682.46                    $670.34



                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                              Starting Balance                       0.00            0.00
     Oct 2019                          724.70                               *                                        0.00          724.70
     Oct 2019                                                      3,873.87 *                                        0.00       (3,149.17)
     Nov 2019                          362.35                               *                                        0.00       (2,786.82)
     Nov 2019                          362.35                               *                                        0.00       (2,424.47)
     Dec 2019                          362.35                               *                                        0.00       (2,062.12)
     Jan 2020                                                      1,349.18 * County Tax                             0.00       (3,411.30)
     Feb 2020                          680.73                               *                                        0.00       (2,730.57)
     Mar 2020                          336.07                               *                                        0.00       (2,394.50)
     Mar 2020                                                      1,200.00 * Homeowners Policy                      0.00       (3,594.50)
     Apr 2020                         336.07                                *                                        0.00       (3,258.43)
     May 2020                         336.07                                *                                        0.00       (2,922.36)
     Jun 2020                        (336.07)                               *                                        0.00       (3,258.43)
     Jun 2020                       3,258.43                                * Escrow Only Payment                    0.00            0.00
                                                                              Anticipated Transactions               0.00            0.00
     Jun 2020                      336.07                          1,338.19 County Tax                                          (1,002.12)
     Jul 2020                      336.07                                                                                         (666.05)
                          $0.00 $7,095.19               $0.00     $7,761.24

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
     Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are

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                                                     For Inquiries: (800) 603-0836
                                        Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
 Analysis Date: June 12, 2020

 REGINALD E BOGGS                                                                                                Loan:

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                              (666.05)         971.82
Aug 2020               323.95                                                                          (342.10)       1,295.77
Sep 2020               323.95                                                                           (18.15)       1,619.72
Oct 2020               323.95                                                                           305.80        1,943.67
Nov 2020               323.95                                                                           629.75        2,267.62
Dec 2020               323.95                                                                           953.70        2,591.57
Jan 2021               323.95        1,349.18            County Tax                                     (71.53)       1,566.34
Feb 2021               323.95                                                                           252.42        1,890.29
Mar 2021               323.95                                                                           576.37        2,214.24
Apr 2021               323.95        1,200.00            Homeowners Policy                             (299.68)       1,338.19
May 2021               323.95                                                                            24.27        1,662.14
Jun 2021               323.95        1,338.19            County Tax                                    (989.97)         647.90
Jul 2021               323.95                                                                          (666.02)         971.85
                    $3,887.40       $3,887.37

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
 Your escrow balance contains a cushion of 647.90. A cushion is an additional amount of funds held in your escrow
 balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
 Federal law, your lowest monthly balance should not exceed 647.90 or 1/6 of the anticipated payment from the account,
 unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
 this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is (666.05). Your starting
balance (escrow balance required) according to this analysis should be $971.82. This means you have a shortage of 1,637.87.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

 We anticipate the total of your coming year bills to be 3,887.37. We divide that amount by the number of payments expected during
 the coming year to obtain your escrow payment.




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    New Escrow Payment Calculation                 Document      Page 6 of 7
    Unadjusted Escrow Payment                      323.95
    Surplus Amount:                                  0.00
    Shortage Amount:                                 0.00
    Rounding Adjustment Amount:                      0.00
    Escrow Payment:                               $323.95




   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
or return in the self-addressed envelope.




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                                      CERTIFICATE OF SERVICE
      On July 7, 2020 I served the foregoing documents described as NOTICE OF MORTGAGE
 PAYMENT CHANGE the following individuals by electronic means through the Court’s ECF program:
         DEBTOR’S COUNSEL
         Kathleen D Mezher
         kathleen@mezherlaw.com

         TRUSTEE
         Margaret A Burks
         Cincinnati@cinn13.org

         U.S. TRUSTEE
         Asst US Trustee (Cin)
         ustpregion09.ci.ecf@usdoj.gov

         I declare under penalty of perjury under the laws of the United States of America that the
 foregoing is true and correct.
                                                           /s/ Marlen Gomez
                                                           Marlen Gomez

         On July 7, 2020, I served the foregoing documents described as NOTICE OF MORTGAGE
 PAYMENT CHANGE on the following individuals by depositing true copies thereof in the United States
 mail at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
         DEBTOR
         Reginald E. Boggs
         7326 Parkdale Ave.
         Cincinnati, OH 45237-3121

         JOINT DEBTOR
         Alycia W. Boggs
         7326 Parkdale Ave.
         Cincinnati, OH 45237-3121

 I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
 and correct.
                                                           /s/Marlen Gomez
                                                           Marlen Gomez
